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B6 Summary (Official Form 6 - Summary) (12/07)

United States Bankruptcy Court

 

 

 

District of Maryland
In re Charles David Wallace, Case No. 10-21874
Brenda Diane Tamariz Wallace
Debtors Chapter 7
SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAME OF SCHEDULE ATTACHED | NO. OF ASSETS LIABILITIES OTHER
(YES/NO) SHEETS
A - Real Property Yes 1 850,000.00
B - Personal Property Yes 4 12,447,575.00
C - Property Claimed as Exempt Yes 2
D - Creditors Holding Secured Claims Yes 3 se 2,878,976.00
E - Creditors Holding Unsecured Yes 2 : 311,686.00
Priority Claims (Total of Claims on Schedule E) :
F - Creditors Holding Unsecured Yes 13 : : 24,439,263.00
Nonpriority Claims
G - Executory Contracts and Yes 1
Unexpired Leases
H - Codebtors Yes 1
I- Current Income of Individual Yes 2 8 7,385.00
Debtor(s) j
J - Current Expenditures of Individual Yes 1 : : a 7,385.00
Debtor(s) :
Total Number of Sheets of ALL Schedules 30
Total Assets 13,297,575.00

 

 

 

 

Total Liabilities 27,629,925.00

 

 

 

EXHIBIT

tabbies

Cc

 

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Case 1:09-cv-00667-JFM_ Document 7 ile
Case 10-21874 Doc 28 Filed 06/22/10 Page 6 of 36

B6B (Official Form 6B) (12/07) - Cont.

In re Charles David Wallace, Case No. 10-21874

Brenda Diane Tamariz Wallace

 

Debtors
SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

Type of Property Description and Location of Property

Husband, Current Value of
Wife, Debtor's Interest in Property,
Joint, or without Deducting any

Community Secured Claim or Exemption

 

20.

21.

22.

23.

24.

25.

26.

27.

28.

29.

30.

<]/mMZ0OZ

Contingent and noncontingent
interests in estate of a decedent,
death benefit plan, life insurance
policy, or trust.

Other contingent and unliquidated Medicare claim reimbursement

claims of every nature, including

tax refunds, counterclaims of the Erie Auto accident claim, settlement pending
debtor, and rights to setoff claims.

Give estimated value of each. AFLAC insurance claim, settlement pending

<< m2

Lawsuit against Nationwide Insurance, Federal
Court #09CV00667
Attorney William Tedards

=

Retalitory Contract Termination, case before
Maryland Insurance Administration
Attorney William Tedards

Patents, copyrights, and other x
intellectual property. Give
particulars.

Licenses, franchises, and other x
general intangibles. Give
particulars.

Customer lists or other compilations X
containing personally identifiable
information (as defined in 11 U.S.C.

§ 101(41A)) provided to the debtor

by individuals in connection with
obtaining a product or service from

the debtor primarily for personal,

family, or household purposes.

Automobiles, trucks, trailers, and 2003 Honda Pilot, 104k mies, fair condition J
other vehicles and accessories.

Boats, motors, and accessories. 1987 Morris 36' Sailboat J
Aircraft and accessories. xX

Office equipment, furnishings, and Computer, printer, laptop, fax Ww
supplies.

Machinery, fixtures, equipment, and x
supplies used in business.

Inventory. xX

3,800.00
500.00
750.00

10,000,000.00

Unknown

4,500.00

125,000.00

1,525.00

 

Sub-Total > 10,136,075.00

(Total of this page)

Sheet 2 of _3___ continuation sheets attached

to the Schedule of Personal Property

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B6F (Official Form 6F) (12/07) - Cont.

In re Charles David Wallace, Case No. 10-21874
Brenda Diane Tamariz Wallace

 

Debtors
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

AMOUNT OF CLAIM

 

CREDITOR'S NAME, g Husband, Wife, Joint, or Community g u D

0 NIL]IS

MAILING ADDRESS e [4 DATE CLAIM WAS INCURRED AND Tit |e

INCLUDING ZIP CODE, 8|“1 — CONSIDERATION FOR CLAIM. IFCLAIM |“ []¥

AND ACCOUNT NUMBER an : NJU|T

O|% IS SUBJECT TO SETOFF, SO STATE. S{rle

(See instructions above.) R E|]DID
NIA
Account No. 4301-7777-1403-0872 Consumer Debt THe
D

 

 

Nationwide Bank
PO Box 5708 J
Hicksville, NY 11802

 

Account No. Business Debt-Breach of Contract

 

Nationwide Mutual Insurance
Company J X) XX
1 Nationwide Plaza

Columbus, OH 43215

 

Account No. 29009411260 2009

 

Deficiency on surrendered 2008 Infiniti M35
Nissan-Infiniti LT
P.O. Box 660366 w
Dallas, TX 75266-0366

 

Account No. Personal Guarantee

 

Ohio Casualty Insurance Company
One Boston Place J
Boston, MA 02108

 

Account No. 589803 Consumer Debt

 

 

Oregon Medical Group
PO Box 60000 J
San Francisco, CA 94160-0001

 

 

 

 

 

 

 

Sheetno. 8 of 12 sheets attached to Schedule of Subtotal
Creditors Holding Unsecured Nonpriority Claims (Total of this page)

 

21,821 ,620.00

650,000.00

22,491,143.00

 

 

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